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Scott Griffith
Patrick T. Mulry
Griffith Davison, PC
13737 Noel Rd., Suite 850
Dallas, Texas 75240
(972) 392-8900 Telephone
(972) 392-8901 Facsimile

Attorneys for MYCON
General Contractors, Inc.

                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                  FORT WORTH DIVISION

 IN RE:                                         §
                                                §           CASE NO. 21-42178-mxm7
 MACON, INC,                                    §
                                                §           (Chapter 7)
 DEBTOR.                                        §


          NOTICE OF APPEARANCE AND REQUEST FOR SERVICE OF PAPERS

       PLEASE TAKE NOTICE that the undersigned hereby appears as counsel for MYCON

General Contractors, Inc. (“MYCON”) and, pursuant to Federal Rules of Bankruptcy Procedure

2002, 3017, 9007 and 9010, and 11 U.S.C. §§ 342(a) and 1109(b), requests that copies of any

and all notices, pleadings, motions, orders to show cause, applications, presentments, petitions,

memoranda, affidavits, declarations, orders, disclosure statements and plans of reorganization,

or other documents filed or entered in this case be transmitted to:

       Scott Griffith
       Patrick T. Mulry
       Griffith Davison, PC
       13737 Noel Rd., Suite 850
       Dallas, Texas 75240
       (972) 392-8900 Telephone
       (972) 392-8901 Facsimile
       sgriffith@griffithdavison.com
       pmulry@griffithdavison.com

       PLEASE TAKE FURTHER NOTICE that demand is also made that the undersigned be

added to the Notice List for notice of all contested matters, adversary proceedings, and other

proceedings in this chapter 7 case.


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        PLEASE TAKE FURTHER NOTICE that neither this Request for Notice nor any

subsequent appearances, pleadings, claims, proofs of claim, documents, suits, motions nor any

other writings or conduct shall constitute a waiver of MYCON’s:

   A.      right to have any and all final orders in any and all non-core matters entered only after

           de novo review by a United States District Court Judge;

   B.      right to trial by jury in any proceeding as to any and all matters so triable herein,whether

           or not the same be designated legal or private right, or in any case, controversy or

           proceeding related hereto, notwithstanding the designation vel non of such matters as

           “core proceedings” pursuant to 28 U.S.C. § 157(b)(2)(H), and whether or not such jury

           trial right is pursuant to statute or the United States Constitution;

   C.      right to have the reference of this matter withdrawn by the United States District Court

           in any matter or proceeding subject to mandatory or discretionary withdrawal; and

   D.      any and all other rights, claims, actions, defenses, setoffs, recoupments or other

           matters to which MYCON is rightly entitled under any agreements or at law or in equity

           or under the United States Constitution.

        All of the above rights are expressly reserved and preserved unto MYCON without

exception and with no purpose of confessing or conceding jurisdiction in any way by this filing or

by any other participation in these matters.

Dated: July 18, 2022




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                                                      Respectfully submitted,

                                                      GRIFFITH DAVISON, P.C.



                                                      by:
                                                            Patrick T. Mulry
                                                            State Bar No. 90001642
                                                            pmulry@griffithdavison.com
                                                            Scott Griffith
                                                            State Bar No. 08482150
                                                            sgriffith@griffithdavison.com

                                                      13737 Noel Road, Suite 850
                                                      Dallas, Texas 75240
                                                      T: 972-392-8900
                                                      F: 972-392-8901

                                                      ATTORNEYS FOR MYCON GENERAL
                                                      CONTRACTORS, INC.


                                   CERTIFICATE OF SERVICE

        I certify that a true and correct copy of the foregoing was served electronically upon all

counsel and parties of record through the bankruptcy court’s electronic case filing system on July 18,

2022.



                                                                               _______________
                                                      Patrick T. Mulry




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